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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA

Abdullah Ali,                                            Court File No.

                                      Plaintiff,

       vs.

HealthEx Corp., HealthEx Couriers LLC,                                 NOTICE OF REMOVAL
Joseph Montemarano and Dustin Hoffman,
as individuals,

                                  Defendants.

TO:    THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF
       MINNESOTA

       Pursuant to 28 U.S.C. §§ 1441 and 1446, Defendants HealthEx Corp., HealthEx Couriers

LLC, (“HealthEx”), and Defendants Joseph Montemarano and Dustin Hoffman (collectively, with

HealthEx, “Defendants”), hereby give notice of removal of the above-captioned action currently

pending in the Ramsey County District Court, State of Minnesota, to the United States District

Court for the District of Minnesota. In support of its Notice of Removal, Defendants state as

follows:

       1.       On or about October 22, 2019, Plaintiff, Abdullah Ali, (“Plaintiff”) commenced a

civil action in the Ramsey County District Court in the State of Minnesota, by service on Defendant

Dustin Hoffman, pursuant to Minnesota Rule of Civil Procedure 3.01. A true and correct copy of

the Summons and Complaint is attached as Exhibit A.

       2.       Plaintiff claims in Counts VII-XI of his Complaint that Defendants violated certain

provisions of the Federal Fair Labor Standards Act, 29 U.S.C. § 201 et seq., 29 U.S.C. § 211(c),

and provisions of 42 U.S.C. § 1981.
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       3.        Federal Question Jurisdiction Basis for Removal: Because it presents federal

questions for adjudication, the above-entitled action may be removed to this Court by Defendants

pursuant to the provisions of 28 U.S.C. §§ 1331, 1441, and 1446.

       4.        Having original jurisdiction over Plaintiff's FLSA and Section 1981 claims

pursuant to 28 U.S.C. § 1331, this Court also has supplemental jurisdiction over Plaintiff's

Minnesota statutory and common law claims pursuant to 28 U.S.C. § 1367(a), as such claims form

part of the same case or controversy.

       5.        Timing of Removal: Fewer than thirty (30) days have elapsed since October 22,

2019, when Plaintiff first served Defendant Hoffman with the Complaint.           See 28 U.S.C.

§ 1446(b).

       6.        All Defendants consent to the removal of this action, as required by 28 U.S.C. §

1446(2)(b)(A).

       7.        Simultaneous with the filing of this Notice of Removal, Defendants have notified

the Ramsey County District Court in the State of Minnesota of removal of this action. No other

process, pleadings, or orders have been served or filed in this action.

       8.        True and correct copies of the Notice of Removal (with accompanying Exhibit) and

the Notice of Filing of Notice of Removal directed to State Court will be served upon Plaintiff’s

counsel and filed with the Court Administrator of the Ramsey County District Court in the State

of Minnesota on this date, in accordance with the provisions of 28 U.S.C. § 1446(d).

       WHEREFORE, Defendants respectfully request that this action, now pending in the

District Court for the County of Ramsey, Minnesota, be removed to the United States District

Court for the District of Minnesota.




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Date: November 11, 2019
                                           s/ Benjamin D. Sandahl
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